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                                           November 30, 2022

The Honorable Gregory B. Williams                                      VIA ELECTRONIC FILING
J. Caleb Boggs Federal Building
844 N. King Street
Unit 26
Room 6124
Wilmington, DE 19801-3555

                     Re:    CBV, Inc. v. ChanBond, LLC et al.,
                            C.A. No. 21-1456 (GBW)

Dear Judge Williams:

        We write on behalf of non-parties Atlantic Broadband Group, LLC; Bright House
Networks, LLC; Cable One, Inc.; Cablevision Systems Corporation; CSC Holdings, LLC; Cequel
Communications, LLC; Cequel Communications Holdings I, LLC d/b/a Suddenlink
Communications; Charter Communications, Inc.; Comcast Corporation; Comcast Cable
Communications, LLC; Cox Communications, Inc.; Mediacom Communications Corporation;
RCN Telecom Services, LLC; Time Warner Cable; Time Warner Cable Enterprises LLC;
WadeDivision Holdings, LLC; and WideOpen West Finance LLC (collectively, “Non-Party Cable
Companies”) regarding non-parties Gregory Collins and Kamal Mian’s Motion to Intervene and
Unseal Documents (D.I. 101, “Motion to Unseal Documents”) and objections to sealing portions
of the Court’s October 5, 2022 Memorandum Opinion (D.I. 158, “Objections”).

         Just yesterday, Non-Party Cable Companies learned that the total dollar figure in the
underlying settlement agreement that gave rise to the present action was made public in a separate
litigation involving ChanBond and/or its attorneys, even though the terms of the settlement
agreement required that it be kept confidential. Neither ChanBond nor its attorneys previously
informed Non-Party Cable Companies or their outside counsel that the dollar amount had been
made public, nor did ChanBond or its attorneys seek Non-Party Cable Companies’ consent prior
to such disclosure.1 Accordingly, Non-Party Cable Companies were unaware of such disclosure
before yesterday.

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       ChanBond and its attorneys also did not inform Non-Party Cable Companies or their
outside counsel of the Motion to Unseal Documents or the Objections.
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        Notwithstanding the disclosures already made in the action involving ChanBond and/or its
attorneys regarding the total dollar figure of the settlement agreement, Non-Party Cable
Companies respectfully request that the underlying settlement agreement, as well as any other
terms of that agreement, remain confidential and under seal. To the extent the Court is otherwise
inclined, however, Non-Party Cable Companies respectfully request the opportunity to be heard
on this issue.

       Counsel is available should the Court have any questions.


                                            Respectfully,

                                            /s/ Jennifer Ying

                                            Jennifer Ying (#5550)
JY/lo
cc:   Clerk of the Court (via hand delivery)
      All Counsel of Record (via CM/ECF and e-mail)
      Krishnan Padmanabhan, Esq. (via e-mail)
      David Enzminger, Esq. (via e-mail)




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